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IN THE UNITED sTATEs DISTRICT coURT dam B¥“" -“---~DL`~
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W UFTN,MEM°HS

RORY ALLEN GREGORY,
Petitioner,

vs. No. 04-2848-Ml/P

T . C . OUTLAW,

Respondent.

>-<>-<>-<>-<>-<>-<>-<>-<>-<>-<>-<

 

ORDER DENYING PETITIOI\T PURSUANT TO 28 U.S.C. § 2241
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Petitioner Rory Allen Gregory, Bureau of Prisons inmate
registration number 36628~079, an inmate at the Federal
Correctional Institution in Memphis (“FCI-Memphis”), filed a
petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2241
on October 20, 2004. Because neither the case file nor the docket
sheet contained any indication that the petitioner had paid the
habeas filing fee, the Court issued an order on January 31, 2005
directing Gregory, within thirty days, to file an ig fg;mg_pauperis
affidavit or pay the filing fee. On February 8, 2005, the Clerk
received a letter from the petitioner with a receipt indicating
that the filing fee Was paid on October 27, 2004. Accordingly,

Gregory is in full compliance with the January 3l, 2005 order.

This document entered on the docket h:zi n compliance
with Hu|s 58 and/or ?Q{a) FHCF‘ on g § § /9£

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Subsequent to the filing of this petition, Gregory has
submitted a number of motions and other documents. On November 2,
2004, Gregory filed a zhotion. to set an immediate evidentiary
hearing on his petition. On November 17, 2004, Gregory filed a
document, entitled “Supplemental Motion to Set Cause for an
Immediate Evidentiary Hearing, and for the Issuance of Subpoenas
for Witnesses and Subpoenas Duces Tecum for Documents.” On November
18, 2004, Gregory filed a motion, entitled “Motion for the District
Court to Take Judicial Notice,” which sets forth information
concerning his medical condition. On December 13, 2004, the clerk
docketed. a letter to this judge fron\ Gregory; which. had. been
received on December 8, 2004, asking for an immediate hearing on
his petition. On January 3, 2005, Gregory filed a document,
entitled “Motion for the District Court to take Judicial Notice,”
which cites legal authorities relevant to his petition. On August
8, 2005, Gregory filed a nmtion asking for the status of the
petition.1

The petition alleges that Gregory has not been afforded

appropriate medical treatment of his urinary tract blockages,

 

l Several other documents were also filed in this case. On March 24,
2005, the Clerk filed an order issued by the Sixth Circuit on March 22, 2005
refusing to accept original jurisdiction over the petition and refusing to issue
a writ of mandamus. On April 4, 2005, Gregory filed two motions, directed to the
Chief Judge, entitled “Ex Parte Petition for Reassignment of Case to Another
United States District Court Judge (Good Cause Shown},” and “Motion for Ex Parte
Communication with Chief Judge Pursuant to Local Rule LR83.5,” both of which
asked for reassignment of this petition to another judge because of the length
of time it has been pending. Because these motions were filed under the docket
number for this case, they were not sent to the Chief Judge, who is not assigned
to this case. Pursuant to Local Rule 83.3(a}(l), cases are assigned by the clerk.

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urinary tract infections, and kidney stones.2 The petition asserts
that Gregory has a liberty interest in the avoidance of
unconstitutional conditions of confinement and, therefore, he is
entitled to relief from prison because of these purported Eighth
Amendment violations.

It is necessary, as a threshold matter, to consider
whether this claim can be brought in a petition pursuant to 28
U.S.C. § 224l or whether it can only be raised in a civil action
pursuant to Bivens v. Six Unknown Fed. Narcotics Aqents, 403 U.S.
388 (1971). “It is clear, not only from the language of §§
2241(c)(3) and 2254(a), but also from.the common-law history of the
writ, that the essence of habeas corpus is an attack by a person in
custody upon the legality of that custody, and that the traditional
function of the writ is to secure release from illegal custody.”
Preiser v. Rodriguez, 411 U.S. 475, 484 (1973). As the Supreme
Court explained:

The original view of a habeas corpus attack upon
detention under a judicial order was a limited one. The
relevant inquiry was confined to determining simply
whether or not the committing court had been possessed of
jurisdiction. . . . But, over the years, the writ of
habeas corpus evolved as a remedy available to effect
discharge from any confinement contrary to the
Constitution or fundamental law, even though imposed
pursuant to conviction by a court of Competent

jurisdiction. . . . Thus, whether the petitioner’s
challenge to his custody is that the statute under which

 

2 Gregory previously raised this issue in a complaint pursuant to

Bivens v. Six Unknown Fed. Narcotics Agents, 403 U.S. 388 (1971), which is
currently pending. Gregorv v. Federal Bur. Of Prisonsl et al., No. 04-2628-Ma/V
(W.D. Tenn. filed Aug. 9, 2004).

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he stands convicted is unconstitutional . . . ; that he
has been imprisoned jprior to trial on account of a
defective indictment against him . . . ; that he is
unlawfully confined in the wrong institution . .. ; that
he was denied his constitutional rights at trial . . ;
that his guilty plea was invalid . . . ; that he is being
unlawfully detained by the Executive or the military

; or that his parole was unlawfully revoked, causing
him to be reincarcerated in prison . . . -in each case
his grievance is that he is being unlawfully subjected to
physical restraint, and in each case habeas corpus has
been accepted as the specific instrument to obtain
release from such confinement.

ldy at 485-86 (citations omitted); see also idy at 487 (“[R]ecent
cases have established that habeas corpus relief is not limited to
immediate release from illegal custody, but that the writ is
available as well to attack future confinement and obtain future
releases.”).

Although there is some blurring of the lines between a
habeas petition and an action pursuant to 42 U.S.C. § 1983 or
Bivens, this case does not approach that line. As the Seventh
Circuit explained:

For most purposes, the line between the domain of
collateral review and that of § 1983 is simple. State
prisoners who want to challenge their convictions, their
sentences, or administrative orders revoking good-time
credits or equivalent sentence~shortening devices, must
seek habeas corpus, because they contest the fact or
duration of custody. . . . State prisoners who want to
raise a constitutional challenge to any other decision,
such as a transfer to a new' prison, administrative
segregation, exclusion from prison programs, or
suspension of privileges, must instead employ § 1983 or
another statute authorizing damages or injunctions-when

the decision may be challenged at all . . . . Legal
rules, like physical surfaces, cause diffraction at the
edges . . . , but the exceptions (like the scattering of

light) may be ignored for most practical purposes.

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Prisoners who follow the rule stated in this paragraph

rarely will go wrong; those who ignore it rarely will go
right.

Moran 'v. Sondalle, 218 F.3d 647, 650-51 (7th. Cir. 2000) (per
curiam) (citations omitted); see also Carson v. Johnson, 112 F.3d
818, 820 (5th Cir. 1997) (“Generally, § 1983 suits are the proper
vehicle to attack unconstitutional conditions of confinement and
prison procedures. . . . A habeas petition, on the other hand, is
the proper vehicle to seek release from custody.”) (citations
Omitted). In this case, the petition does not challenge either the
fact or the duration of the prisoner's confinement. It is, instead,
limited to a challenge to the medical care that has been afforded
this prisoner for his condition. This is a netter that falls
squarely under the purview of §iyen§. Villanueva-Monrov v. Hobart,
No. 05-C-214-C, 2005 WL 941144, at *1 (W.D. Wis. Apr. 18, 2005)
(“Even if the petitioner were to prove that his medical need is
serious and that respondent has been deliberately indifferent to
it, he would not be entitled to release or modification of his
sentence. The injury he alleges is a claim that must be raised in

a civil action brought pursuant to Bivens v. Six Unknown Federal

3

Narcotics Agents.”).

 

3 The Seventh Circuit recognized that prisoners may have strategic
reasons for preferring habeas to § 1983 or Bivens:

The Prison Litigation Reform Act, which applies to prisoners' civil
suits, imposes requirements different from those of the
Antiterrorism and Effective Death Penalty Act, which governs
collateral attacks on confinement, making it important to classify
cases correctly. . . . Prisoners may be tempted to choose one route
(continued...)

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The cases cited by Gregory in his January 3, 2005 filing
do not support the relief he seeks in this petition. In Coffin v.

Reichard, 143 F.2d 443 (6th Cir. 1943) (per curiam), the Sixth

 

Circuit reversed the dismissal of a habeas petition filed by a
prisoner who was serving his federal sentence at a prison hospital.
In holding that the petition asserted a cognizable claim, the Sixth
Circuit observed that the petition raised an issue as to the
petitioner's physical and mental condition at the time he signed a
confession and entered a guilty plea. ;QL at 444. The Sixth Circuit
also held that, in the course of its review of the petition, the
district court could also consider the petitioner's allegations
concerning the allegedly unconstitutional conditions of his
confinement. ld; at 445. Coffin did not hold that a challenge to a
prisoner's conditions of confinement was cognizable in habeas in
the absence of an underlying challenge to the validity of the
petitioner's conviction or sentence. Moreover, the decision in

Coffin appears to be inconsistent with the Supreme Court’s

 

 

3 (...continued)

rather than another to avoid limitations Congress adopted. For
example, the filing fee for an action seeking a writ of habeas
corpus is $5, while the fee to commence a case under § 1983 is $150
. . , and the fee in a § 1983 case eventually will be collected
from the prisoner's trust account under 28 U.S.C. § 1915(b) even if
the prisoner cannot pay in advance. Frivolous actions count as
“strikes" under § 1915(g), and a prisoner who has accumulated three
strikes must as a rule prepay the fees in all future civil actions,
while collateral attacks are not subject to limitation because of
prior frivolous suits.

Moran, 218 F.3d at 649 (citations omitted). In this case, there is no indication
that the prisoner has exhausted.his administrative remedies pursuant to 42 U.S.C.
§ 1997e(a), which is required in order to assert a Bivens claim.

 

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subsequent decision in Preiser, see §gp;g pp. 3-4,4 and Coffin has

rarely been cited since the issuance of the decision in Preiser.
Gregory also relies on Armstronq v. Cardwell, 457 F.2d

34, 35 (6th Cir. 1972), in which the Sixth Circuit, relying on

Coffin, stated that a challenge to prison conditions may sometimes

 

be cognizable in a habeas petition. The particular claim at issue,

that prison officials physically destroyed or mutilated his

 

‘ The majority in Preiser described the appropriate procedure for the

factual situation at issue in Coffin:

If a prisoner seeks to attack both the conditions of his
confinement and the fact or length of that confinement, his latter
claim, under our decision today, is cognizable only in federal
habeas corpus, with its attendant requirement of exhaustion of state
remedies. But, consistent with our prior decisions, that holding in
no way precludes him from simultaneously litigating in federal
court, under § 1983, his claim relating to the conditions of his
confinement.

411 U.S. at 499 n.14. The majority went on to note, in dicta, that “[t]his is not
to say that habeas corpus may not also be available to challenge such prison
conditions. . . . When a prisoner is put under additional and unconstitutional
restraints during his lawful custody, it is arguable that habeas corpus will lie
to remove the restraints making the custody illegal.” ida at 499; see also ida
at 500 (concluding that “we need not in this case explore the appropriate limits
of habeas corpus as an alternative to a proper action under § 1983. That question
is not before us.”). However, the two cases cited by the majority in support of
that proposition-Johnson v. Avery, 393 U.S. 483 (1969), and Wilwording v.
Swenson, 404 U.S. 249 {1971) (per curiam)-are materially distinguishable from.the
instant case. In Johnson, the Supreme Court overturned a Tennessee regulation
prohibiting inmates from assisting other prisoners in the preparation of legal
papers on the ground that it impaired the ability of prisoners to petition for
writs of habeas corpus. In Wilwording, 404 U,S. at 249»50, the Supreme Court held
that habeas petitions filed.by state prisoners under 28 U.S.C. § 2254 challenging
disciplinary convictions and conditions of confinement could not be dismissed on
the ground that the petitioners had not invoked every conceivable means of
redressing their grievances in state court. The Supreme Court also noted that the
petitioners' claims were cognizable under 42 U.S.C. § 1983, which (at that time)
had no exhaustion requirement. ;d; at 251-52.

The dissent in Preiser, 411 U.S. at 504, cited Coffin for the
proposition that the scope of habeas review historically has been broader than
that described in the majority opinion. Since the decision in Preiser, the
Supreme Court has not endorsed the use of habeas corpus to challenge a prisoner's
custody because he “is put under additional and unconstitutional restraints
during his lawful custody,” 411 U.S. at 499, such as a denial of appropriate
medical care.

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petitions seeking habeas corpus relief and placed him in solitary
confinement when he persisted in attempting to file habeas
petitions, is akin to the claim at issue in Johnson v. Avery, where
restrictions were placed on a prisoner's access to the courts to
seek habeas relief. The decision in Armstrong did not address
habeas claims such as this one. that seek release from prison
solely on the basis of allegedly unconstitutional conditions of
confinement. Moreover, Armstrong, like Coffin, predated Preiser and
has not been relied on in support of the grant of habeas relief by
any court in this circuit since Preiser. Cf. Okoro v. Scibana, No.
99-1322, 1999 WL 1252871, at *2 (6th Cir. Dec. 15, 1999) (“The
district court properly dismissed Okoro's conditions of confinement
claim, because it is not the type of claim that should be brought
in a habeas corpus petition, which is designed to test the legality
or duration of confinement.”); gipg_yy_§ghgp;§p, No. 94-3087, 1994
WL 276906, at *l (6th Cir. June 21, 1994) (noting that habeas
claims “challenging the conditions of [the prisoner's] confinement
were also properly dismissed,” citing §;gi§§;, 411 U.S. at 490).
Because of the vastly different procedural requirements
for habeas petitions and § 1983 or §iy§g§ actions, a court
confronted with a habeas petition that is properly brought under §
1983 or Bivens should dismiss the petition. rather than

“converting” the petition to a § 1983 or Bivens action. Richmond v.

 

Scibana, 387 F.3d 602, 606 (7th Cir. 2004); Moran, 218 F.3d at

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651.5 As Gregory is not entitled to invoke § 2241, “it appears from
the application that the applicant or‘ person detained is not
entitled” to any relief. 28 U.S.C. § 2243. An order for the
respondent to show cause need not issue. The petition is DISMISSED
without prejudice to his right to assert this claim in a Bivens
action. In light of the dismissal of the petition. each and every
one of the outstanding motions is DENIED as moot.

Appeals of habeas petitions under 28 U.S.C. § 2254 and
motions under 28 U.S.C. § 2255 are governed by 28 U.S.C. § 2253 and
require the district court to consider whether to issue a
certificate of appealability. Stanford v. Parker, 266 F.3d 342 (6th
Cir. 2001); Lvons v. Ohio Adult Parole Auth., 105 F.3d 1063 (6th
Cir. 1997). Section 2253 does not apply to habeas petitions by
federal prisoners under § 2241, McIntosh v. United States Parole
Comm’n, 115 F.3d 809, 810 (lOth Cir. 1997); Qig_y;“;mmig;§pigg_§
Naturalization Serv., 106 F.3d 680, 681-82 (5th Cir. 1997);
Bradshaw v. Storv, 86 F.3d 164, 166 (10th Cir. 1996), and it also
is inapplicable to this case, which was not properly brought as a
habeas petition, Mg;gp, 218 F.3d at 650; Walker v. O'Brien, 216
F.3d 626, 637-39 (7th Cir. 2000).

Nevertheless, a habeas petitioner seeking to appeal is

still obligated to pay the $255 filing fee required by 28 U.S.C. §§

 

5 Even if that were not the case, the fact that this petitioner
presently has a Bivens action pending suggests that he is fully aware of that
potential avenue of redress. See supra p. 3 n.2.

 

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1913 and 1917. Although the Sixth Circuit has concluded that the
provisions of the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § 1915, do not apphg to § 2254 petitions, it has not
resolved whether these requirements apply to § 2241 petitions.
Kincade v. Sparkman, 117 F.3d 949, 951-52 (6th Cir. 1997); g_f4
McGore v. Wrigglesworth, 114 F.3d 601 (6th Cir. 1997) (instructing
courts regarding proper PLRA procedures in prisoner civil-rights
cases, without mentioning § 2241 petitions). However, where, as
here, a prisoner attempts to cloak an alleged civil rights
violation as a habeas petition, “the district court must assess the
applicable appellate filing fee .. . under the McGore procedures.”
Kincade, 117 F.3d at 952.

Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal
may not be taken ip fg;mg pappg;is if the trial court certifies in
writing that it is not taken in good faith. Because these claims
plainly are not cognizable in a § 2254 petition, the Court
determines that any appeal would not be taken in good faith. It is
therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any
appeal in this matter by the petitioner is not taken in good faith
and petitioner may not proceed on appeal ip fp;mg papp§gi§.

The final matter to be addressed is the assessment of a

filing fee if petitioner appeals the dismissal of this case.6 In

 

6 Effective November 1, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, I l, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

(continued...)

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McGore, 114 F.3d at 610-11, the Sixth Circuit set out specific

procedures for implementing the PLRA. Therefore, the petitioner is

instructed that if he wishes to take advantage of the installment
procedures for paying the appellate filing fee, he must comply with

the procedures set out in McGore and § 1915(b).

IT IS SO ORDERED this ggq day of August, 2005.

raw

J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

(...continued)

Upon the filing of any' separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5

shall be paid to the clerk of the district court, by the appellant
or petitioner.

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STATES DITRICT OURT - WESTNER DISRICT oF TNNESEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02848 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

Rory Allen Gregory
36628-079

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1\/1emphis7 TN 38184--055

Honorable Jon McCalla
US DISTRICT COURT

